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 1                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 2                               OAKLAND DIVISION
 3
 4   CENTER FOR BIOLOGICAL DIVERSITY, et al.,
 5                         Plaintiffs,
 6
                     v.                                    Case No. 4:22-cv-02285-HSG
 7
     MICHAEL S. REGAN, in his official capacity as         ORDER
 8
     the Administrator of the United States
 9   Environmental Protection Agency,

10                         Defendant.
11
12         Pursuant to stipulation and for good cause shown, all pending deadlines are held in
13 abeyance for 90 days. The Case Management Conference set for July 26, 2022 at 2:00 p.m.
14 (Dkt. No. 13) is hereby vacated. Within five business days of the end of the abeyance period,
15 the parties will meet and confer and promptly advise the court of next steps.
16
     IT IS SO ORDERED.
17
18   Dated: 6/24/2022
19
                                            HAYWOOD S GILLIAM, JR.
20                                          United States District Judge
21
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                                                                     CASE NO. 4:22-CV-02285-HSG
                                                                                          ORDER
